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EXHIBIT 11
Westlaw.

Not Reported in F.Supp.2d, 2007 WL 954108 (E.D.Pa.)
(Cite as: 2007 WL 954108 (E.D.Pa.))

Only the Westlaw citation is currently available.

United States District Court,
E.D. Pennsylvania.
Ali WARIS, Plaintiff,
Vv.
Joseph FRICK, et al., Defendants.

Civil Action No. 06-5189.
March 28, 2007.

Ali Waris, Newtown Square, PA, pro se.

Eric Kraeutler, Michael J. Riffitts, Susannah R.
Henderson, Morgan Lewis & Bockius LLP, Gerald
J. Dugan, Dugan Brinkman Maginnis and Page,
Mary E. Butler, Administrative Office of PA
Courts, Philadelphia, PA, for Defendants.

Gerald J. Dugan, Dugan Brinkman Maginnis and
Page, Philadelphia, PA, pro se.

MEMORANDUM AND ORDER
KATZ, S.J.

*1 Now before the court are the “Judicial De-
fendants' Motion to Dismiss Plaintiffs Complaint”
(Document No. 36) and Plaintiff's response thereto
(Document No. 48}. For the following reasons, the
motion will be granted in part and denied in part.

I. Summary of Facts

Plaintiff is a member of Keystone Health Plan
East (“KHPE”), a health maintenance organization
whose ultimate parent corporation is Independence
Blue Cross. See Compl. 7 16. In September 2004,
Plaintiff sought reimbursement of about $100 in
medical expenses from KHPE, which agreed to re-
imburse about $31. /d. [J 40-41. Over the next 14
months, Plaintiff repeatedly called KHPE to ask
why he had not received his reimbursement check.
id. 19 43-44. Each time, often after lengthy waits on
hold, Plaintiff was told by KHPE's customer service
representatives “that the check had been sent to the

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wrong address and that it would take them some
time to stop that payment and several additional
weeks to re-issue the check.” Jd. { 45-46, Plaintiff
alleges, however, that KHPE “had ne plans to reim-
burse” him, and that KHPE's “false promises” were
designed to cause Plaintiff to stop seeking reim-
bursement. Jd. [fj 3, 34, 42.

On November 4, 2005, Plaintiff, proceeding
pro se, filed suit against KHPE in the Delaware
County Court of Common Pleas (“DCCCP”), al-
leging tortious and contractual malfeasance by
KHPE in its failure to reimburse Plaintiff's $31. Id.
{| 48-49. KHPE's attorney, Defendant Gregory F.
Lepore (“Lepore”), filed preliminary objections to
the complaint, but these were not sustained. Jd. {| 4
50-51, Plaintiff alleges that Defendant Lepore's pre-
liminary objections contained materially false state-
ments, and that Lepore subsequently tampered with
evidence produced in discovery and failed to prop-
erly verify the truth and completeness of his discov-
ery responses. Id. | 52-64. On April 7, 2006,
Plaintiff filed a motion to compel KHPE to give
Plaintiff a signed copy of its response to a particu-
lar discovery request. Jd. 65.

FN 1. Plaintiff also alleges that the verifica-
tion of discovery responses he received
from KHPE on April 4, 2006 was
“materially false.” fd 9 107, 521 A.2d
33(f). This verification was signed by De-
fendant Anya Pollard (‘Pollard’), a
paralegal at KHPE. /d. {] 20, 62.

After the filing of this motion to compel,
KHPE hired Defendant Gerald J. Dugan (“Dugan”),
a partner in the Defendant law firm of Dugan,
Brinkmann, Maginnis and Pace (“DBMP”), to re-
place Defendant Lepore as KHPE's counsel in the
DCCCP case. Jd. 4 68. Plaintiff alleges that De-
fendant Dugan used his influence with the DCCCP
to have Plaintiff's motion re-assigned to the Honor-
able Harry J. Bradley (“Judge Bradley”), who, ac-
cording te Plaintiff, “is a former insurance defense

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lawyer with an established reputation of ruling in
favor of insurance companies.” Id. {J 66-76, 77, 79.
Defendant Judge Bradley then denied Plaintiffs
motion to compel. /d, | 78.

In the months following this ruling, Plaintiff al-
leges that Defendant Dugan's litigation conduct in-
cluded “open lies, false attestations and certifica-
tions, continuous harassment of the Plaintiff, _and
commitment [sic] of postal fraud.” Jd. § 81.
More particularly, Plaintiff claims that Defendant
Dugan improperly tried to pressure Plaintiff to sub-
mit to an inconvenient deposition and committed
postal fraud related to the service and filing of mo-
tions and discovery requests. Jd. $4) 87-103.

FN2. Plaintiff further alleges that Defend-
ant Michael Zipfel (“Zipfel”), one of
KHPE's in-house lawyers, was “regularly
informed of both Lepore and Dugan's con-
duct” during this period, Jd, | 19, 82.

*2 Plaintiff further complains of the conduct
and rulings of Defendant Judge Bradley, the Honor-
able George A. Pagano (“Judge Pagano”) of the
DCCCP, and Defendant Gerald C. Montella
(“Montella”), the administrator of the DCCCP. id.
4] 24-25. With regard to a KHPE motion to compel
filed by Defendant Dugan on July 17, 2006 and
subsequently assigned to Judge Bradley, Plaintiff
repeatedly wrote to Defendant Monteila to question
whether that assignment had been random. Defend-
ant Montella either ignored these letters or sent per-
functory responses. /d. [| 100-116. Yet on October
3, 2006, KHPE's pending motion was reassigned to
Defendant Judge Pagano, who allegedly granted it
the same day without affording Plaintiff an oppor-
tunity to respond. Ja. | 117-118. On October 19,
2006, Plaintiff filed an emergency petition to stay
his DCCCP case; the motion was assigned to Judge
Bradley who denied it the same day. id. {J
120-122.

Plaintiff filed the Complaint in this case on
November 27, 2006. The Complaint comprises ten
counts, most of which target either the “RICO De-

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fendants” or the “Judicial Defendants.” The “RICO
Defendants” are the Board of Directors of KHPE
(the “Board”), Joseph Frick (“Frick”), Zipfel,
Pollard, Dugan, DBMP, and Lepore. Jd. 7] 17, 27.
The “Judicial Defendants” are Montella, Judge
Bradley, and Judge Pagano. /d. 4 28.

FN3. Defendant Frick is the Chief Execut-
ive Officer of KHPE. Jd. 7 18, 521 A.2d 33

With respect to the RICO Defendants,
Plaintiff's basic grievance is that “[t]he KHPE lead-
ership has developed an innovative scheme to raise
the reverme of the company, and thereby their own
bonuses, by unfairly denying, or unjustifiably
delaying, reimbursements to a substantial number
of its insured and providers of medical services to
increase its profits.” /d. § 4. Plaintiff goes on to al-
lege that “KHPE's leadership, including its Board
of Directors and key staff, together maintain an AS-
SOCIATION-IN-FACT ENTERPRISE with some
salaried and contracted attorneys whose law prac-
tice is mainly a FRONT. In reality, the said attor-
neys are KHPE's controlling partners in its Associ-
ation-in-Fact racketeering Enterprise that, inter
alia, robs KHPE's legal opponents of their property .
value in the litigation against KHPE” by using
“mob-like techniques” to defeat legal challenges to
KHPE's practices and “deter others from suing
KHPE.” fd. {j 4, 5. Finally, Plaintiff alleges that
“the tentacles of KHPE's racketeering enterprise ex-
tend to certain courthouses as well where the court
officials under the COLOR OF STATE LAW, and
the COLOR OF OFFICIAL RIGHT, help KHPE fix
cases and intimidate its opponents.” Jd, § 7.

‘With respect to the Judicial Defendants,
Plaintiff's basic grievance is that Defendant Mon-
tella's failure to follow the DCCCP's procedures for
the random assignment of cases, and Defendant ~
Judges Bradley and Pagano’s rulings violated
Plaintiff's First and Fourteenth Amendment rights-
more specifically, Plaintiff's rights to free speech
and procedural and substantive due process. /d. {{]
76, 109, 118-119, 123-125.

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*3 Count I alleges that the RICO Defendants
violated 18 U.S.C. § 1962(a) and (d); Count II that
they violated 18 U.S.C. § 1962(b) and (d); and
Count III that they violated 18 U.S.C. § 1962(c)
and (d). Id. §] 129-155. Count IV seeks recovery
against the Judicial Defendants in their personal ca-
pacities under 42 U.S.C. § 1983 for violating
Plaintiff's First and Fourteenth Amendment rights;
Count V seeks recovery on the same grounds
against the same Defendants in their official capa-
cities. fd. FJ 156-173. Counts VII and VII assert
freestanding claims against the Judicial Defendants
under the First and Fourteenth Amendments, re-
spectively. Jd. 4] 178-191. Count VI alleges that
Defendants Frick, Dugan, and Montella violated the
Hobbs Act (i.e, 18 U.S.C. § 1951). fd. YY 174-177.
Count IX claims that all Defendants are liable to
Plaintiff for engaging in common law fraud and de-
ceit. Id. JJ 192-197. Count X asserts a corporate
negligence claim against Defendants Frick, Zipfel,
and the Board. fd. 7] 198-202. Plaintiff seeks
money damages against the RICO Defendants, and
money damages and declaratory and prospective in-
junctive relief against the Judicial Defendants. fd. {
12.

II. Legal Standard

A motion to dismiss pursuant to FED, R. CIV.
P. 12(b)(6) tests the legal sufficiency of the com-
plaint. See Jodek Charitable Trust, R.A. v. Fertical-
Net. Inc., 412 ¥.Supp.2d 469, 474 (E.D.Pa.2006)
(citing Kost vy. Kozakiewicz, 1 F.3d 176, 183 (3d
Cir.1993}). In considering the motion, the court
must accept as true all well-pleaded factual allega-
tions in the complaint and “all reasonable infer-
ences that can be drawn from them after construing
them in the light most favorable to the non-
movant,” see Jordan v. Fox, Rothschild, O'Brien &
Frankel, 20 F.3d 1250, 1261 (3d Cir.1994), but the
court need not credit bald assertions or legal con-
clusions. See Morse v. Lawer Merion Sch. Dist.,
132 F.3d 902, 906 (3d Cir.1997). Moreover, the
court may look “only to the facts alleged in the
complaint and its attachments without reference to
other parts of the record.” See Jordan, 20 F.3d at

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1261. The court may grant the motion only if it
“appears beyond doubt that the plaintiff can prove
no set of facts in support of his claim which would
entitle him to relief.” Conley v. Gibson, 355 U.S.
41, 45-46, 78 $.Ct. 99, 2 L.Ed.2d 80 (1957).

ITI, Discussion

The instant motion seeks dismissal of
Plaintiff's claims in Counts IV, V, VI, VI, WITH,
and IX against Defendants Montella, Judge Brad-
ley, and Judge Pagano-ie., the “Judicial Defend-
ants.” For the following reasons, the motion will be
granted in part and denied in part.

A. The Rooker-Feldman Doctrine

The Judicial Defendants argue that the Rooker-
Feldman doctrine requires that all of Plaintiffs
claims against them be dismissed for lack of sub-
ject-matter jurisdiction pursuant to FED, R. CIV. P.
12(b}\(1). See District of Columbia Court af Appeals
v. Feldman, 460 U.S. 462, 103 $,Ct, 1303, 75
L.Ed.2d 206 (1983); Rooker v. Fidelity Trust Co.,
263 U.S. 413, 44 S.Ct. 149, 68 L.Ed. 362 (1923).
The court rejects this argument, because the Reck-
er-Feldman doctrine, as narrowed by Exxon Mobil
Corp. v. Saudi Basie Indus. Corp. 344 U.S. 280,
125 S.Ct. 1517, 161 L.Ed.2d 454 (2005}, does not
reach Plaintiff's claims, The Supreme Court held in
Exxon Mobil that:

*4 The Rooker-Feldman doctrine ... is confined
to cases of the kind from which the doctrine ac-
quired its name: cases brought by state-court
losers complaining of injuries caused by state-
court judgments rendered before the district court
proceedings commenced and inviting district
court review and rejection of those judgments.
Rooker-Feldman does not otherwise override or
supplant preclusion doctrine or augment the cir-
cumscribed doctrines that allow federal courts to
stay or dismiss proceedings in deference to state-
court actions.

Id. at 284. Here, Plaintiff alleges that the Judi-
cial Defendants violated his rights under the First
and Fourteenth Amendments of the United States

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Constitution, and defrauded him by not disclosing
their relationships with his adversaries in the
DCCCP case. Plaintiff also alleges that Defendant
Montella violated the Hobbs Act-i.e., 18 U.S.C. §
1951, The Rooker-Feldman doctrine does not de-
prive the court of subject-matter jurisdiction over
these claims, because they do not “invit[e] district
court review and rejection” of any ruling in the
DCCCP case, which apparently has not yet reached
a final judgment. Exvon Mobil, 544 U.S. at 284;
Taliaferro v. Darby Twp. Zoning Bd, 458 F.3d 181,
192-93 (3d Cir.2006) (rejecting the application of
Rooker-Feldman in a similar 42 U.S.C. § 1983
case).

B. Counts VII and VIiI-Implied Causes of Ac-
tion Under the First and Fourteenth Amend-
ments

Plaintiff's claims against the Judicial Defend-
ants in Counts VII and VIII will be dismissed with
prejudice pursuant to FED. R. CIV. P. 12(b)(6), be-
cause they impermissibly duplicate Counts IV and
¥. Count IV seeks recovery against the Judicial De-
fendants in their personal capacities under 42
U.S.C. § 1983 for violating Plaintiffs First and
Fourteenth Amendment rights; Count V seeks re-
covery on the same grounds against the same De-
fendants in their official capacities. See Compi. {[]
156-173. Counts VII and VIII, however, duplicate
Counts IV and V by asserting freestanding claims
against the Judicial Defendants under the First and
Fourteenth Amendments, respectively. id
178-191, With respect to Plaintiff's Fourteenth
Amendment claim in Count VIII, the Third Circuit
has held that such a freestanding claim must be dis-
missed where relief is also sought under 42 U.S.C.
§ 1983,/N4 See Rogin v. Bensalem Twp., 616 F.2d
680, 686-87 (3d Cir.1980); Mahone v. Waddle, 564
F.2d 1018, 1024-25 (3d Cir.1977); Three Rivers
Cablevision, Inc. v. City of Pittsburgh, 302 F.Supp.
1118, 1134 (W.D.Pa.1980); ef Jett vy. Dallas Indep.
Sch. Dist, 491 U.S. 701, 735, 109 S.Ct. 2702, 105
L.Ed.2d 598 (1989). As for Plaintiff's First Amend-
ment claim in Count VII, the court is aware of no
case dismissing such a claim on this ground. Never-

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theless, the court finds Rogin and Mahone’'s logic
equally applicable to Plaintiff's First Amendment
claim and will therefore dismiss it with prejudice,
along with Plaintiff's Fourteenth Amendment claim
in Count VII. See Rogin, 616 F.2d at 686-87 (“[I]t
would be a redundant and wasteful use of judicial
resources to permit the adjudication of both direct
constitutional and § 1983 claims where the latter
wholly subsume the former.”); Mafone, 564 F.2d at
1024 (“/ Bivens v. Six Unknown Named Agents of

‘the Federal Bureau of Narcotics, 403 U.S. 388, 91

S.Ct. 1999, 29 L.Ed.2d 619 (1971) ] teaches that
the existence of an effective and substantial federal
statutory remedy for the plaintiffs obviates the need
to imply a constitutional remedy on the plaintiffs'
behalf ....”).

FN4, 42 U.S.C. § 1983 reads as follows:

Every person who, under color of any
statute, ordinance, regulation, custom, or
usage, of any State or Territory or the
District of Columbia, subjects, or causes
to be subjected, any citizen of the United
States or other person within the juris-
diction thereof to the deprivation of any
rights, privileges, or immunities secured
by the Constitution and laws, shall be li-
able to the party injured in an action at
law, suit in equity, or other proper pro-
ceeding for redress, except that in any
action brought against a judicial officer
for an act or omission taken in such of-
ficer's judicial capacity, injunctive relief
shali not be granted unless a deciaratory
decree was violated or declaratory relief
was unavailable. For the purposes of this
section, any Act of Congress applicable
exclusively to the District of Columbia
shall be considered to be a statute of the
District of Columbia.

42 U.S.C. § 1983 (2006).

FNS. In the alternative, the court holds that
Plaintiff's. freestanding First Amendment

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claim for money damages in Count VII is
barred by the doctrines of absolute judicial
and quasi-judicial immunity, which are
discussed in Section II].D., infra.

C. Count VI-Hobbs Act (18 U.S.C. § 1931)

*5 Plaintiffs claim against Defendant Montella
in Count VI is based on his alleged violation of a
criminal statute-ie., the Hobbs Act (18 U.S.C. §
195 1), FNS This claim will be dismissed with preju-
dice pursuant to FED. R. CIV. P. 12(b)(6), because
there is no express or implied private right of action
under 18 U.S.C. § 1951. See Wisdom v. First Midw-
est Bank of Poplar Bluff, 167 F.3d 402, 408-09 (8th
Cir.1999); Bajorat v. Columbia-Breckenridge Dev.
Carp., 944 F.Supp. 1371, 1377-78 (N.D.ILL1996);
Barrett v. City of Allentown, 152 F.R.D. 50, 36
(E.D.Pa.1993)}; John's Insulation, inc, v. Siska Con-
str. Co., Inc., 774 F.Supp. 156, 163 (8.D.N-Y.1991)
: Peterson v. Philadelphia Stock Exch., 717 F.Supp.
332, 335-36 (E.D.Pa.1989); Creech v, Fed. Land
Bank of Wichita, 647 F.Supp. 1097, 1099
(D.Colo. 1986).

FN6. The Hobbs Act reads, in pertinent
part, as follows:

Whoever in any way or degree obstructs,
delays, or affects commerce or the
movement of any article or commodity
in commerce, by robbery or extortion or
attempts or conspires so to do, or com-
mits or threatens physical violence to
any person or property in furtherance of
a plan or purpose to do anything in viol-
ation of this section shall be fined under
this title or imprisoned not more than
twenty years, or both.

18 U.S.C. § 1951(a) (2006).

D. Counts IV and V-Absolute Judicial and
Quasi-Judicial Immunity

The settled doctrine of absolute judicial im-
munity requires the dismissal with prejudice, pursu-
ant to FED. R. CIV. P. 12(b)(6), of Plaintiff's 42

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U.S.C. § [983 claims for money damages in Counts
IV and V against Defendant Judges Bradley and Pa-
gano. Quasi-judicial immunity, however, does not
require the dismissal of Plaintiff's § 1983 claims for
money damages in Counts IV and V against De-
fendant Montella, so the motion to dismiss these
claims will be denied without prejudice with leave
to renew by motion for summary judgment follow-
ing the completion of discovery.

1, The Doctrines

“[G]enerally, a judge is immune from a suit for
money damages.” Mireles v. Waco, 502 U.S. 9, 9,
112 S.Ct, 286, 116 L.Ed.2d 9 (1991). The Supreme
Court has expanded on this principle as follows:

Like other forms of official immunity, judicial
immunity is an immunity from suit, not just from
ultimate assessment of damages. Accordingly, ju-
dicial immunity is not overcome by allegations of
bad faith or malice, the existence of which ordin-
arily cannot be resolved without engaging in dis-
covery and eventual trial. Rather, our cases make
clear that the immunity is overcome in only two
sets of circumstances. First, a judge is not im-
mune from liability for non-judicial actions, ie.,
actions not taken in the judge's judicial capacity.
Second, a judge is not immune for actions,
though judicial in nature, taken in the complete
absence of all jurisdiction.

id. at 11-12 (internal citations omitted), With
regard to the first exception, “whether an act by a
judge is a ‘judicial’ one relates to the nature of the -
act itself, ie, whether it is a function normally per-
formed by a judge, and to the expectations of the
parties, i.e, whether they dealt with the judge in his
judicial capacity.” Jd, at 12 (quoting Stump v.
Sparkman, 435 U.S. 349, 362, 98 S.Ct. 1099, 55
L.Ed.2d 331 (1978)); see also Gallas v. Supreme
Court of Pennsvivania, 211 F.3d 760, 769 (3d
Cir.2000) ( “Our task is to ‘draw the line between
truly judicial acts, for which immunity is appropri-
ate, and acts that simply happen to have been done
by judges,’ such as administrative acts.”) (quoting
Forrester v. White, 484 U.S. 219, 227, 108 8.Ct.

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538, 98 L.Ed.2d 555 (1988)), With regard to the
second exception, the Third Circuit requires district
courts to “distinguish between acts in the ‘clear ab-
sence of all jurisdiction,’ which do not enjoy the
protection of absolute immunity, and acts that are
merely in ‘excess of jurisdiction,’ which do enjoy
that protection.” Gallas, 211 F.3d at 769; see also
Figueroa vy, Blackburn, 208 F.3d 435, 443-45 (3d
Cir.2000).

FN?. The Stump Court explained the dif-
ference as follows:

A distinction must be here observed
between excess of jurisdiction and the
clear absence of all jurisdiction over the
subject-matter. Where there is clearly no
jurisdiction over the subject-matter any
authority exercised is a usurped author-
ity, and for the exercise of such author-
ity, when the want of jurisdiction is
known to the judge, no excuse is per-
missible. But where jurisdiction over the
subject-matter is invested by law in the
judge, or in the court which he holds, the
manner and extent in which the jurisdic-
tion shall be exercised are generaily as
much questions for his determination as
any other questions involved in the case,
although upon the correctness of his de-
termination in these particulars the valid-
ity of his judgments may depend.

Stump, 435 U.S. at 356 n. 6 (quoting
Bradley y. Fisher, 13 Wall, 335, 80 U.S.
335, 351-52, 20 L.Ed. 646 (1871)).

*§ Court officers generally enjoy absolute
quasi-judicial immunity that parallels the judicial
immunity described above. See Forrester v. White,
484 U.S, 219, 225, 108 S.Ct. 538, 98 L.Ed.2d 555
(1988) (noting the extension of absolute immunity
“to Executive Branch officials who perform quasi-
judicial functions”); Turack v. Guido, 464 F.2d 535,
536 (3d Cir.1972) (extending absolute quasi-judi-
cial immunity to a court administrator like Defend-

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ant Montella); Marcades v. Barrett, 453 F.2d 391,
391-92 (3d Cir.1971) (doing the same for “a Cierk
of State Courts, a supervisor on the staff of such
Clerk, the Administrative Assistant to the President
Judge of the Allegheny County Court, and the State
Court Reporter who reported state criminal court
proceedings”); Lockhart v. Hoenstine, 411 F.2d
455, 460 (3d Cir.!969) (“In addition to the recog-
nized immunity enjoyed by judicial and quasijudi-
cial officers, including prothonotaries, there exists
an equally well-grounded principle that any public
official acting pursuant to court directive is also im-
mune from suit.”); Henig v. Odorioso, 383 F.2d
491, 494 (3d Cir.1967); Gonzales v. Clerk of Courts
of Berks County, Civ. A. No, 91-2082, 1991 WL
133647, at *2 (E.D.Pa. July 16, 1991); DeFerro v.
Coco, 719 F.Supp. 379, 381 (E.D.Pa.1989), Jodeco,
Inc. v. Hann, 674 F.Supp. 488, 497 (D.N.J.1987) (
“TA]bsolute immunity has been extended to protect
those nonjudicial officials whose activities are in-
tegrally related to the judicial process and involve
the exercise of discretion comparable to that of a
judge.”).

FN8. These holdings do not appear to have
been affected by Antoine v. Byers & An-
derson, Inc., 508 US. 429, 113 S.Ct. 2167,
124 L.Ed.2d 39) (1993), which held that
court reporters are not entitled to absolute
immunity, and which declared that:

The proponent of a claim to absolute im-
munity bears the burden of establishing
the justification for such immunity. In
determining which officials perform
functions that might justify a full exemp-
tion from liability, we have undertaken a
considered inquiry into the immunity
historically accorded the relevant official
at common law and the interests behind
it.

Id. at 432 (internal quotations omitted);
see also Gallas v. Supreme Court of
Pennsylvania, 211 F.3d 760, 772-73 (3d
Cir.2000) (holding court administrator

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entitled to absolute quasi-judicial im-
munity); Davis v. Philadelphia Couns,
195 F.Supp.2d 686, 688 (E.D.Pa.2002)
(same, citing Marcedes, 453 F.2d at
391).

2. Application of the Doctrines to This Case

Plaintiffs 42 U.S.C. § 1983 claims against the
Judicial Defendants seek relief in the form of
money damages. See Compl. {ff 12 (generally), 169
(Count IV), Prayer for Relief ({f 3, 6, 7). The
claims against Defendant Judges Bradley and Pa-
gano therefore must be dismissed with prejudice
under the doctrine of absolute judicial immunity,
which applies to their alleged conduct. The claims
against Defendant Montella, however, will not be
dismissed, because Defendant Montella's alleged
conduct is beyond the scope of his quasi-judicial
immunity.

a. Defendant Judges Bradley and Pagano

Plaintiff's claims against Defendant Judge
Bradley arise out of two of his rulings in Plaintiff's
DCCCP case. First, Judge Bradley allegedly denied
a motion to compe! discovery from KHPE that
Plaintiff had filed on April 7, 2006. See Compl. {
78. Second, Judge Bradley allegedly denied, on Oc-
tober 19, 2006, Plaintiffs emergency petition to
stay his DCCCP case, which Plaintiff had filed that
day after an unfavorable October 3, 2006 ruling (by
Defendant Judge Pagano) on a KHPE motion to
compel. Jd. Jf] 118, 120, 122.

Plaintiff's claims against Defendant Judge Pa-
gano arise out of his only ruling in Plaintiff's
DCCCP case-on October 3, 2006, Judge Pagano
granted a KHPE motion to compel more specific
discovery responses from Plaintiff, allegedly
without giving Plaintiff an opportunity to respond.
Id. J 110, 117-119. This motion to compel had
been filed by Defendant Dugan on July 17, 2006,
and originally was assigned to Judge Bradley, and
subsequently was reassigned to Judge Pagano. Id.

*7 The rulings of Judges Bradley and Pagano
fall within the scope of their absolute judicial im-

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‘munity, because they were judicial acts, and be-

cause they were not issued in the clear absence of
all jurisdiction. See generally Mireles, 502 U.S. at
9-13; Figueroa, 208 F.3d at 443-45. In finding that
these rulings were judicial acts, the court finds that
they were acts “normally performed by a judge,”
Stump, 435 U.S. at 362, and that Plaintiff “dealt
with [Judges Bradley and Pagano] in [their] judicial
capacit[ies].” Jd. Moreover, Judges Bradley and Pa-
gano acted within their respective jurisdictions. Jd.
at 356-57 (citing Bradley, 80 U.S. at 352). It fol-
lows that Plaintiffs 42 U.S.C. § 1983 claims for
money damages against Judges Bradley and Pagano
in Counts IV and V must be dismissed with preju-
dice. ,

b. Defendant Montella

Plaintiff's claims against Defendant Montella
arise out of three instances in which he allegedly
used his authority as administrator of the DCCCP
to circumvent the procedure for the random assign-
ment of motions. See Compl. ff] 24, 109. Not sur-
prisingly, the three motions at issue are the same
motions upon which Judges Bradley and Pagano
ruled, thus giving rise to Plaintiff's claims against
them: (1) Plaintiffs motion to compel, filed on
April 7, 2006, and assigned to Judge Bradley; (2)
Defendant KHPE's motion to compel, filed on July
17, 2006, and assigned first to Judge Bradley, then
to Judge Pagano after Plaintiff complained extens-
ively; (3) Plaintiff's emergency petition to stay his
DCCCP case, filed on October 19, 2006, and as-
signed to Judge Bradley despite being addressed to
Judge Clouse, President Judge of the DCCCP. id. §
{ 65, 76-79, 110-117, 120, 121.

Since “[t]he County Court, like other civilized
and honest courts, is required to follow a procedure
based on random assignment of motions and cases
to its judges so as to provide litigants equal protec-
tion under the law,” id. { 109, and since there is no
indication that the DCCCP authorized the allegedly
non-random assignment of the motions at issue, De-
fendant Montella's alleged actions lie beyond_the
scope of his absolute quasi-judicial immunity.’ N?

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See Lockhart, 411 F.2d at 460 (“In addition to the
recognized immunity enjoyed by judicial and
quasijudicial officers, including prothonotaries,
there exists an equally well-grounded principle that
any public official acting pursuant to court direct-
ive is also immune from suit,”} (emphasis added);
cf Turack, 464 F.2d at 536, Marcades, 453 F.2d at
391-92; Henig, 385 F.2d at 494, Gonzales. 1991
WL 133647, at #2; DeFerro, 719 F.Supp. at 381. It
follows that the motion to dismiss Plaintiff's 42
U.S.C. § 1983 claims for money damages against
Defendant Montella in Counts ITV and V must be
denied without prejudice with leave to renew by
motion for summary judgment following the com-
pletion of discovery.

FNS. The court would reach the same con-
clusion. at this stage even if Defendant
Montella were shielded by only qualified
immunity. Cf Crews v. Petrosky, 309
F.Supp. 1199, 1204-05 (W.D,Pa.1981).

E, Counts IV and V-Injunctive and Declaratory
Relief

*8 Judge Bradley and Judge Pagano's absolute
judicial immunity does not completely dispose of
Plaintiff's 42.U.S.C. § 1983 claims in Counts IV an
V, because Plaintiff also expressly seeks deciarat-
ory and prospective injunctive relief. See Compl. 4
12, 173 (Count V), Prayer for Relief (ff 1, 2, 3).

Plaintiff's claims for injunctive relief against
the Judicial Defendants in Counts IV and V will be
dismissed with prejudice pursuant to FED, R. CIV.
P. 12(b}{6), because they are barred by 42 U.S.C. §
1983 itself, which declares that “m any action
brought against a judicial officer for an act or omis-
sion taken in such officer's judicial capacity, in-
junctive relief shall not be granted unless a declar-—
atory decree was violated or declaratory relief was
unavailable.” 42 U.S.C. § 1983 (2006) (emphasis
added). Declaratory relief is available in this case,
and the Judicial Defendants have not violated a de-
claratory decree. Moreover, as discussed above, the
Judicial Defendants are “judicial officers” who
were acting in their “judicial capacities.” Plaintiff's

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claims for injunctive relief in Counts IV and V
therefore must be dismissed with prejudice. See
Brandon E. ex rel, Listenbee vy. Reynolds, 201 F.3d
194, 197-98 (3d Cir.2000); see also Roth v. King,
449 F.3d 1272, 1286-87 (D.C.Cir.2006); Smith v.
City of Hammond, Indiana, 388 F.3d 304, 307 (7th
Cir.2004); Local Union No. 12004, United Sieel-
workers of America v. Massachusetts, 377 F.3d 64,
75 n. 9 (1st Cir.2004); Montero v. Travis, 171 F.3d
757, 761 (2d Cir.1999).

As stated above. declaratory relief under 28
U.S.C, § 2201 NI is available with regard to
Plaintiff's claims against the Judicial Defendants in
Counts IV and V. See, e.g., Kuhn v. Thompson, 304
F.Supp.2d 1313, 1322 (M.D.Ala.2004). The court,
in the exercise of its discretion, will dismiss
without prejudice Plaintiff's request for a deciarat-
ory judgment against Defendant Judges Bradley
and Pagano, but it will net dismiss Plaintiff's re-
quest for a declaratory judgment against Defendant

Montella.

FN10. 28 U.S.C. § 2201 reads, in pertinent
part, as follows:

(a) In a case of actual controversy within
its jurisdiction ... any court of the United
States, upon the filing of an appropriate
pleading, may declare the rights and oth-
er legal relations of any interested party
seeking such declaration, whether or not
further relief is or could be sought. Any
such declaration shali have the force and
effect of a final judgment or decree and
shall be reviewable as such.

28 U.S.C. § 2201(a) (2006) (emphasis
added).

The Supreme Court has explained how district
courts should approach declaratory relief:

The Declaratory Judgment Act was an authoriza-
tion, not a command. It gave the federal courts
competence to make a declaration of rights; it did

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not impose a duty to do so. Of course a District
Court cannot decline to entertain such an action
as a matter of whim or personal disinclination. A
declaratory judgment, like other forms of equit-
able relief, should be granted only as a matter of
judicial discretion, exercised in the public in-
terest.

Public Affairs Assocs., Inc. v. Rickover, 369
U.S. 111, 112, 82 S.Ct. 580, 7 L.-Ed.2d 604 (1962)
(internal citations and quotations omitted); accord
Wilton vy. Seven Falls Ca.. 315 U.S. 277, 288, 115
§.Ct. 2137, 132 L.Ed.2d 214 (1995) (“In the declar-
atory judgment context, the normal principle that
federal courts should adjudicate claims within their
jurisdiction yields to considerations of practicality
and wise judicial administration.”).

*9 The court does not believe that adjudicating
Plaintiff's request for a declaratory judgment
against Defendant Judges Bradley and Pagano with
regard to Counts IV and V would serve well the
public interest or the interests in practicality and
wise judicial administration. Defendant Judges
Bradley and Pagano are immune from Plaintiff's
claims for damages, and, so long as their alleged vi-
olations of Plaintiff's rights do not recur or threaten
to recur, the court sees no need to start down the
road to an injunction by declaring their conduct un-.
lawful. Cf Cin of Los Angeles v. Lyons, 461 U.S.
95, 141, 103 S.Ct. 1660, 75 L.Ed.2d 675 (1983)
(“The equitable remedy is unavailable absent a
showing of irreparable injury, a requirement that
cannot be met where there is no showing of any
real or immediate threat that the plaintiff will be
wronged again ....”)}. Besides, the purposes of judi-
cial immunity and the limitations on injunctive re-
lief in 42 U.S.C. § 1983 would be ill-served if
judges routinely were forced to defend against de-
claratory judgment actions like this one, where their
immunity obviously shields them from liability for
money damages. See Bradley, 80 U.S. at 347 {It is ,
“a general principle of the highest importance to the
proper administration of justice that a judicial of-
ficer, in exercising the authority vested in him,

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shall be free to act upon his own convictions,
without apprehension of personal consequences to
himself.”). The court, in the exercise of its discre-
tion, therefore will dismiss without prejudice
Plaintiff's request for declaratory relief against De-
fendant Judges Bradley and Pagano with regard to
Counts IV and V. Compare Kircher v. City of Ypsil-
anti, 458 F. Supp.2d 439, 448 n. 9 (E.D.Mich.2006)
(so holding); Nollei v. Justices of the Trial Court of
the Commonwealth of Massachusetts, 83 F.Supp.2d
204, 210 (D.Mass.2000) (same, construing a simil-
arly worded complaint) with Tesmer v, Granhoim,
114 F.Supp.2d 603, 622 (E.D.Mich.2000) (issuing a
declaratory judgment holding unconstitutional the
defendant judges’ practice of “denying appointed
counsel to aid indigents seeking leave to appeal
their plea-based felony conviction or nolo con-
tendere”).

The court reaches a different result, however,
with respect to Defendant Montella. Because
neither absolute nor qualified quasi-judicial im-
munity completely shields him at this point, and be-
cause his alleged conduct may recur, the motion to
dismiss Plaintiff's request for declaratory relief
against Defendant Montella in Counts IV and V
will be denied without prejudice with leave to re-
new by motion for summary judgment following
the completion of discovery.

F. Count 1X-Immunity Under Pennsylvania
State Law

Plaintiffs state-law fraud/deceit claims in
Count IX against Defendant Judges Bradley and
Pagano will be dismissed with prejudice pursuant to
FED. R. CIV. P. 12(b)(6), because they are barred
by the Pennsylvania state-law doctrine of absolute
judicial immunity, which parallels the federal doc-
trine discussed in Section IL.D., supra, and which
applies here for the reasons stated in Section
IIL.D.2.a, supra, See Matter of XYP, 523 Pa. 411,
567 A.2d 1036, 1039 (Pa.1989); Beam v. Dail,
767 A.2d 585, 586-87 (Pa.Super.2001} (judicial im-
munity); Commonwealth v. Cauffiel, 79 Pa.Super. -
596 (1922); see also 1 STANDARD

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PENNSYLVANIA PRACTICE 2D § 3:75 (2006).

*10 The motion to dismiss Plaintiff's state-law
fraud/deceit claim in Count IX against Defendant
Montella will be denied without prejudice with
leave to renew by motion for summary judgment
following the completion of discovery.
Pennsylvania law does recognize absolute quasi-
judicial immunity, see Feingold v. Hill, 360
Pa.Super. 539, 521 A.2d 33, 36-38 (Pa Super.1987)
(quasi-judicial immunity); 1 STANDARD
PENNSYLVANIA PRACTICE 2D § 3:76 (2006),
but, for the reasons stated in Section I[II.D.2.b,
supra. that doctrine does not bar this claim against
Defendant Montella at this point.

IV. Conclusion

For the foregoing reasons, the Judicial Defend-
ants' motion to dismiss will be granted in part and
denied in part. Plaintiffs claims in Counts IV, V,
VI, VII, VIII, and IX against Defendants Judge
Bradley, Judge Pagano, and Montella will be dis-
missed with prejudice, with three exceptions: (1)
Plaintiff's claims for declaratory relief against De-
fendant Judges Bradley and Pagano with regard to
Counts IV and V will be dismissed without preju-
dice; (2) the motion to dismiss Plaintiff's claims for
money damages and declaratory relief against De-
fendant Montella in Counts IV and V will be denied
without prejudice with leave to renew by motion
for summary judgment following the completion of
discovery; and (3) the motion to dismiss Plaintiff's
state-law fraud/deceit claim against Defendant
Montella in Count IX will be denied without preju-
dice with leave to renew by motion for summary
judgment following the completion of discovery.

An appropriate Order follows.

ORDER
AND NOW, this 28th day of March, 2007,
upon consideration of the “Judicial Defendants’
Metion to Dismiss Plaintiffs Complaint”
(Document No. 36) and Plaintiff's response thereto
(Document No. 48), it is hereby ORDERED that
said Motion is GRANTED IN PART and

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DENIED IN PART. Plaintiff's claims in Counts
IV, V, VI, VII, VIII, and IX against Defendants
Judge Bradley, Judge Pagano, and Montella are
DISMISSED WITH PREJUDICE, with three ex-
ceptions:

(1) Plaintiffs claims for declaratory relief
against Defendant Judges Bradley and Pagano with
regard to Counts IV and V are DISMISSED
WITHOUT PREJUDICE;

(2) the motion to dismiss Plaintiff's claims for
money damages and declaratory relief against De-
fendant Montella in Counts IV and V is DENIED
WITHOUT PREJUDICE with leave to renew by
motion for summary judgment following the com-
pletion of discovery; and

(3) the motion to dismiss Plaintiff's state-law
fraud/deceit claim against Defendant Montella in
Count IX is DENIED WITHOUT PREJUDICE
with leave to renew by motion for summary judg-
ment following the completion of discovery.

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